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    UNITED STATES BANKRUPTCY COURT
    SOUTHERN DISTRICT OF NEW YORK


In re                                                        Chapter 11

LATAM Airlines Group S.A., et al.,                           Case No.: 20-11254 (JLG)

                           Debtors.1                         Jointly Administered

                                                              Reference Docket No. 18


    INTERIM ORDER (I) AUTHORIZING, BUT NOT DIRECTING, DEBTORS TO PAY
      PREPETITION CLAIMS OF CERTAIN CRITICAL AND FOREIGN VENDORS
      AND (II) AUTHORIZING AND DIRECTING FINANCIAL INSTITUTIONS TO
    HONOR AND PROCESS CHECKS AND TRANSFERS RELATED TO SUCH CLAIMS

                   Upon the motion (the “Motion”)2 of LATAM Airline Group S.A., and its

affiliated debtors and debtors-in-possession in the above-captioned cases (collectively, the

“Debtors”), for entry of an interim order (this “Interim Order”) (i) authorizing, but not directing,

the Debtors to pay all or a portion of the prepetition claims of the Critical Vendors and Foreign

Vendors, subject to the Interim Vendor Cap; (ii) authorizing banks and other financial

institutions to receive, process, honor and pay checks and transfers issued in relation to the

foregoing and to rely on the representations of the Debtors as to which checks and transfers are

authorized to be paid in accordance with this Motion; (iii) to the extent necessary, authorizing the


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                  The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s tax
identification number (as applicable) are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo S.A. (98-
0058786); Transporte Aéreo S.A. (96 9512807); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training LATAM
S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast Air
Almacenes de Carga S.A. (96 6315202); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de
Integración Regional S.A. (98 0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (98-
0383677); Professional Airline Cargo Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (30-
1133972); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime
Airport Services Inc. e(XX-XXXXXXX); Mas Investment Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (65-
0623014). For the purpose of these Chapter 11 Cases, the service address for the Debtors is: 6500 NW 22nd Street
Miami, FL 33131.
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                   All capitalized terms used and not defined herein shall have the meanings ascribed to them in the
Motion.
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Debtors to issue replacements for any dishonored check or transfer related to the foregoing; and

(iv) granting such other relief as the Court deems just and proper; each as more fully described in

the Motion; and consideration of the Motion and First Day Declaration; and adequate notice of

the Motion having been given as set forth in the Motion; and it appearing that no other or further

notice is necessary; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and the Court having determined that

consideration of the motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having determined that the relief sought in the Motion is in the best interests of the

Debtors, their estates, their creditors and other parties in interest; and the Court having

determined that the legal and factual bases set forth in the Motion and the First Day Declaration

establish just cause for the relief requested in the Motion; and the Court having heard the

arguments of counsel on the record, and following, the completion of, the hearing held on the

Motion, and after due deliberation and sufficient cause appearing therefor;

               IT IS HEREBY ORDERED THAT:

               1.      The Motion is GRANTED on an interim basis, to the extent provided

herein.

               2.      Objections to entry of the Final Order must be filed with the Court (with

two single-sided courtesy copies mailed to Chambers) [JLG] by June 9, 2020 at 4:00 pm.

(ET) and served on: (i) counsel to the Debtors, Cleary Gottlieb Steen & Hamilton LLP, One

Liberty Plaza, New York, NY 10006, Attn: Richard J. Cooper, Esq., Lisa M. Schweitzer, Esq.

and Luke A. Barefoot, Esq.; (ii) the United States Trustee, 201 Varick Street, Room 1006, New

York, New York, 10014, Attn: Brian Masumoto, Esq. and Serene Nakano, Esq.; and (iii) counsel

to any statutory committee appointed in the Chapter 11 Cases. A final hearing, if required, on




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the Motion will be held on June 23, 2020 at 11:00 a.m. (ET) (the “Final Hearing”). If no

objections are filed to the Final Order, the Court may enter the Final Order without further notice

or hearing.

               3.      The Debtors are authorized but not directed, in their sole discretion,

subject to the terms and provisions hereof, to pay the Critical Vendor Claims and Foreign

Vendor Claims in the ordinary course of business, provided, however, that any payments shall

only be made as they become due, and that no payments shall be accelerated prior to the final

hearing of this Motion. Notwithstanding the foregoing, payments on account of Critical Vendor

Claims and Foreign Vendor Claims shall not exceed $45 million in the aggregate without further

order of this Court (the “Interim Vendor Cap”). Any U.S. Dollar limitation in this Interim Order

shall be adjusted as necessary, to account for foreign exchange conversion costs if the payment

must be made in a foreign currency.

               4.      All applicable banks and other financial institutions are authorized to rely

on the Debtors’ direction in paying amounts under this Interim Order. Furthermore, all

applicable banks and other financial institutions are authorized to (i) honor any checks drawn

against the Debtors’ accounts, but not cleared prior to the Petition Date, (ii) complete any fund

transfer requests made but not completed prior to the Petition Date and (iii) issue new

postpetition checks and to make postpetition fund transfer requests to replace any prepetition

checks and prepetition transfers to Critical and Foreign Vendors that may be dishonored by the

banks or financial institutions.

               5.      The authority granted in this Interim Order or any payment made under

that authority is not intended nor shall be construed as: (i) an admission as to the validity of any

claim against the Debtors or the existence of any lien against the Debtors’ properties; (ii) a




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waiver of the Debtors’ rights to dispute any claim or lien; (iii) an implication or admission that

any particular claim constitutes a Critical Vendor Claim or a Foreign Vendor Claim or an

undertaking to pay such a claim; (iv) an assumption or rejection of any executory contract or

unexpired lease under Bankruptcy Code Section 365; or (v) otherwise affecting the Debtors’

rights to assume or reject any executory contract or unexpired lease pursuant to Bankruptcy Code

Section 365 with any party subject to this Interim Order once entered.

               6.      None of the Debtors, their officers, directors, attorneys or agents will have

any liability on account of any decision by the Debtors not to pay a Critical Vendor Claim or

Foreign Vendor Claim.

               7.      Nothing in this Motion or Interim Order shall operate to allow, increase,

reclassify or elevate to administrative expense status or otherwise affect any Critical Vendor

Claims or Foreign Vendor Claims to the extent that they are not paid.

               8.      Nothing in the Motion or this Interim Order, nor the Debtors’ actions in

executing this Interim Order, is intended or shall be construed as a modification or waiver of the

Debtors’ rights with respect to goods or services requested or received from the Critical Vendors

or Foreign Vendors. This includes, but is not limited to, the Debtors’ rights to (i) cancel a

purchase order; (ii) decline the acceptance of goods or services; (iii) return any defective,

nonconforming, or unacceptable goods; or (iv) contest the amount of any invoice or claim.

               9.      Within seven business days of entry of the Final Order, the Debtors shall

(i) file with the Court under seal (subject to this Chambers’ Rules governing sealing

procedures), [JLG] a list identifying the entities to which all such payments are made in

respect of this Interim Order, and the amounts of such payments (the “Prepetition Payment




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Report”); and (ii) provide to Chambers, the Office of the United States Trustee, and any official

committee of unsecured creditors copies of the Prepetition Payment Report in unredacted form.

               10.     The entry of this Interim Order is necessary to avoid immediate and

irreparable harm to the Debtors under Bankruptcy Rule 6003(b). Thus, this Interim Order shall

be effective and enforceable immediately upon entry hereof.

               11.     The notice of the relief requested in the Motion satisfies Bankruptcy Rule

6004(a) and, pursuant to Bankruptcy Rule 6004(h), the terms and provisions of this Interim

Order shall be immediately effective and enforceable upon its entry.

               12.     The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Interim Order.

               13.     This Court shall retain jurisdiction with respect to any matters, claims,

rights or disputes arising from or related to the Motion or the interpretation, implementation or

enforcement of this Interim Order.



 Dated: May 30, 2020
                                                   /s/James L. Garrity, Jr.
        New York, New York                         HONORABLE JAMES L. GARRITY, JR.
                                                   UNITED STATES BANKRUPTCY JUDGE




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